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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

    AGIS SOFTWARE DEVELOPMENT                    §
    LLC,                                         §
                                                 §   Case No. 2:21-cv-00072-JRG-RSP
           Plaintiff,                            §   (LEAD CASE)
    v.                                           §
                                                 §
    T-MOBILE USA, INC. AND T-                    §
    MOBILE US INC.,                              §
    LYFT, INC.                                   §   Case No. 2:21-cv-00024-JRG-RSP
                                                 §   (MEMBER CASE)
           Defendants.                           §
                                             ORDER

          Defendant Lyft, Inc. previously filed a Motion to Dismiss for Improper Venue (Dkt. No.

   30.) Magistrate Judge Payne entered a Report and Recommendation (Dkt. No. 212),

   recommending granting Lyft’s Motion to Dismiss. Plaintiff AGIS Software Development LLC has

   now filed a Motion for Reconsideration and Objections (Dkt. No. 258.)

          After conducting a de novo review of the briefing on the Motion to Dismiss for Improper
      .
   Venue, the Report and Recommendation, and AGIS’s Objections, the Court agrees with the

   reasoning provided within the Report and Recommendation and concludes that the Objections fail

   to show that the Report and Recommendation was erroneous. Consequently, the Court

   OVERRULES AGIS’s Objections and ADOPTS the Report and Recommendation and orders

   that the Motion to Dismiss for Improper Venue (Dkt. No. 30) is GRANTED.

          The Clerk of the Court is directed to CLOSE Case No. 2:21-cv-00024.

          So ORDERED and SIGNED this 19th day of January, 2022.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                          UNITED STATES DISTRICT JUDGE
